      Case 3:10-md-02143-RS Document 3101-3 Filed 08/10/22 Page 1 of 3




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                                                         UNITED STATES DISTRICT COURT
10                                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                            SAN FRANCISCO DIVISION

t2    IN RE OPTICAL DISK DRIVE                                          Case No. 10-MD-02143-RS
      PRODUCTS ANTITRUST LITIGATION                                     MDL No. 2143
13

14    This document relates to: ALL INDIRECT
      PURCHASE,R ACTIONS
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18                                                                      Declaration of Conner Erwin in Support of
                                                                        Motion for Attorney's Fees and Incentive
19                                                                      Award
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           Case 3:10-md-02143-RS Document 3101-3 Filed 08/10/22 Page 2 of 3




     I, Ira Conner Erwin, declare and state as follows:
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                1,.    My name is Ira Conner Erwin.                   I am over the age of eighteen (18) years and am
 a   competent to make this declaration. The facts stated herein are within my personal knowledge.
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 4              2.      I live in Austin, Texas. I         am a member of the settlement class and filed a claim                  foth

 5   as set   forth in my declarations on fiie with this Cout. As set forth therein, I was a resident of the
 6   State    of Caltfornia from 2000 to 2009 . When I lived in California, between the dates of April                          7, 2003

 7
     and December 3L, 2008,        I   purchased two computers with optical disk drives. One was an iMac G4
 8
     and the other was a MacBook Pro.                 I did not purchase any of these           products directly from any of the
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     companies identified as amanufacturer of an optical disk drive products.
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                3.      In October 201,6,I reached out to my counsel in connection with the first round of

12   setdements in this case and decided               I would object. Over neady six years, I have conferred with my

13   counsel and teviewed numerous documents                      in the case, including each of my fout objections                 and

74   the valious appellate documents.             I   estimate   I have spent approximately 50 hours in relation to these
15   tasks.

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                4.      Although   I       believe strongiy in my objections and am proud of the role                     I   played in
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     benefitting the class,      it has not come without personal                      and financial costs. For example,           class
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     counsel made dispataging personal attacks about me and my wife                             in filings with the Ninth Circuit,
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     See   Hagens Beffian's Appellees' Brief,            No.     L7 -1.5065, at   2,   1.5-1.6 (July   20,2017). My objections also
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2t   negatively impacted my employment opportunities and cost me tens                                   of   thousands   of   dollars in

22   potential income. Last year,           I   was up for a lucrative enterprise sales role with a global information

23   and technology company.           i   had been through five interviews and met with Senior Vice President                       of
24   sales    for a final interview. During the interview, I was questioned about this case and left with the
25
     impression that      if I   were hited, the case could negatively impact the company's                                    business
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     relationships.   I was not hired and that was my last interview with the company. Had I been hired, I
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          Case 3:10-md-02143-RS Document 3101-3 Filed 08/10/22 Page 3 of 3




     stood to make tens of thousands of dollars more than my present annual income.
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 J   Dated this the 10th day of August, 2022.

 4           I   declare under penalty   of perjury of the laws of the United States of Amedca that the

 5   foregoing is true and correct.

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                                                        Ira Conner Erwin
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